                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 4:07-cr-1
vs.                                                   )
                                                      )       JUDGE MATTICE
LUIS ALBERTO BENITEZ                                  )       MAGISTRATE JUDGE LEE
RUBEN RAMOS                                           )


                                 MEMORANDUM & ORDER
                               ARRAIGNMENT ON INDICTMENT

        In accordance with Rule 10 of the Federal Rules of Criminal Procedure, the arraignment
of the defendants LUIS ALBERTO BENITEZ and RUBEN RAMOS on the indictment returned
by the Grand Jury, was held before the undersigned on January 11, 2007.

         Those present for the hearing included:

                (1) AUSA James Brooks for the USA.
                (2) The defendant, LUIS ALBERTO BENITEZ.
                (3) Atty. Aubrey Harper for defendant Benitez.
                (4) The defendant, RUBEN RAMOS.
                (5) Atty. Rusty Leonard for defendant Ramos.
                (6) Courtroom Deputy Pam Scott.

        After being sworn in due form of law, the defendants were informed or reminded of their
privilege against self-incrimination accorded under the 5th Amendment to the United States
Constitution. The individuals present were the defendants named in the indictment.

        The defendants acknowledged having been provided with a copy of the indictment. The
defendants both waived a formal reading of the indictment and both defendants entered not guilty
pleas to each count of the indictment.

         Presently, the case is assigned the dates set forth in a separate Discovery and Scheduling
Order.


         ENTER.
                                       S/William B. Mitchell Carter
                                       UNITED STATES MAGISTRATE JUDGE




Case 4:07-cr-00001-TRM-SKL            Document 20         Filed 01/11/07    Page 1 of 1      PageID
                                             #: 1
